                                 UNITED STATES DISTRICT COURT
                                             for the
                              EASTERN DISTRICT OF NORTH CAROLINA

 U.S.A. vs. Michael Anthony Thorpe                                               Docket No. 5:16-CR-15-lD

                                 Petition for Action on Supervised Release

 COMES NOW Peter J. Yalango, U.S. Probation Officer of the court, presenting a petition for modification
 of the Judgment and Commitment Order of Michael Anthony Thorpe, who, upon an earlier plea of guilty
 to 18 U.S.C. § 922(g)(l) and 18 U.S.C. § 924(a)(2), Possession of a Firearm by a Felon, was sentenced by
 the Honorable James C. Dever III, U.S. District Judge, on October 4, 2016, to the custody of the Bureau of
 Prisons for a term of 72 months. It was further ordered that upon release from imprisonment the defendant
 be placed on supervised release for a period of 36 months.

 Michael Anthony Thorpe was released from custody on October 12, 2021, at which time the term of
 supervised release commenced.

 RESPECTFULLY PRESENTING PETITION· FOR ACTION OF COURT FOR CAUSE AS
 FOLLOWS:

 The defendant submitted a urinalysis sample which tested positive for cocaine on October 14, 2021. The
 defendant has been referred to Daymark Recovery Services for a substance abuse assessment. The
 defendant's substance use will continue to be monitored through the Surprise Urinalysis Program. The /
 defendant also agreed to participate in mental health treatment to address ongoing mental health issues. ;

 The defendant signed a Waiver of Hearing agreeing to the proposed modification of supervision.

 PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

      1. The defendant shall participate in a program of mental health treatment, as directed by the probation
         office.

 Except as herein modified, thejudgment shall remain in full force and effect.

 Reviewed and approved,                                 I declare under penalty of perjury that the foregoing
                                                        is true and correct.


 Isl Julie W. Rosa                                     Isl Peter J. Yalango
 Julie W. Rosa                                         Peter J. YaJango
 Supervising U.S. Probation Officer                    U.S. Probation Officer
                                                       310 New Bern Avenue, Room 610
                                                       Raleigh, NC 27601-1441
                                                       Phone: 910-354-2546
                                                       Executed On: October 19, 2021




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                                      ORDER OF THE COURT

Considered and ordered this      21'.'>  day of   O ci-o0-4.A   , 2021, and ordered filed and
made a part of the records in the above case.


Ja; C. Dever III
U.S. District Judge




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